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MINUTE ENTRY
FELDMAN, J.
JANUARY 22, 2021
JS10: 00:20

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                        CRIMINAL ACTION

VERSUS                                                          NO. 20-55

JASON WILLIAMS                                                  SECTION “F”
NICOLE BURDETT

                                    MINUTE ENTRY

       On January 22, 2021, the Court held a telephone status conference. Kelly
Uebinger participated on behalf of the USA; Billy Gibbens participated on behalf of
Jason Williams; and Mike Magner and Avery Pardee participated on behalf of Nicole
Burdett. The parties discussed the need for a trial continuance in light of General Order
21-1 continuing all jury trials through May 1 in response to the COVID-19 outbreak.
       Accordingly;
       IT IS ORDERED that, in light of General Order 21-1 and incorporating the ends
of justice language contained therein, the trial of this matter is CONTINUED and
RESET for November 1, 2021 at 9:00 a.m. A pretrial conference shall be held on
October 19, 2021 at 1:30 p.m.
       IT IS FURTHER ORDERED that a motion to consolidate 20-cr-139 and 20-
cr-55 shall be filed by defense counsel within one (1) week from today. Counsel for the
Government shall file a response to the motion within five (5) days of its filing.
       IT IS FURTHER ORDERED that the parties jointly shall file a proposed
scheduling order to address case management issues and deadlines within two (2)
weeks of this Court’s ruling on the motion to consolidate.
